           Case 06-14784-dws                          Doc 1          Filed 10/18/06 Entered 10/18/06 16:53:51                                          Desc Main
(Official Form 1) (10/06)
                                                                     Document     Page 1 of 32
                                          UNITED STATES BANKRUPTCY COURT
                                          EASTERN DISTRICT OF PENNSYLVANIA                                                                              Voluntary Petition
                                                PHILADELPHIA DIVISION
Name of Debtor (if individual, enter Last, First, Middle):                                      Name of Joint Debtor (Spouse) (Last, First, Middle):
Rahn, Christopher

All Other Names used by the Debtor in the last 8 years                                          All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                     (include married, maiden, and trade names):




Last four digits of Soc. Sec./Complete EIN or other Tax I.D. No. (if more than one,             Last four digits of Soc. Sec./Complete EIN or other Tax I.D. No. (if more than one,
state all):  xxx-xx-3077                                                                        state all):
Street Address of Debtor (No. and Street, City, and State):                                     Street Address of Joint Debtor (No. and Street, City, and State):
1112 Christian Street
Philadelphia, PA
                                                                        ZIP CODE                                                                                      ZIP CODE
                                                                          19147
County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:
PHILADELPHIA
Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):
1112 Christian Street
Philadelphia, PA
                                                                        ZIP CODE                                                                                      ZIP CODE
                                                                          19147
Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                      ZIP CODE


 Type of Debtor                                              Nature of Business                              Chapter of Bankruptcy Code Under Which
(Form of Organization)                                          (Check one box.)                                the Petition is Filed (Check one box)
              (Check one box.)
                                                   ¨    Health Care Business
                                                                                                þ    Chapter 7
 þ    Individual (includes Joint Debtors)          ¨    Single Asset Real Estate as defined
                                                        in 11 U.S.C. § 101(51B)
                                                                                                ¨    Chapter 9                                  ¨    Chapter 15 Petition for Recognition
                                                                                                                                                     of a Foreign Main Proceeding
      See Exhibit D on page 2 of this form.
                                                   ¨    Railroad                                ¨    Chapter 11
 ¨    Corporation (includes LLC and LLP)                                                        ¨    Chapter 12                                 ¨    Chapter 15 Petition for Recognition
                                                   ¨    Stockbroker                                                                                  of a Foreign Nonmain Proceeding
 ¨    Partnership
                                                   ¨    Commodity Broker                        ¨    Chapter 13

 ¨    Other (If debtor is not one of the above
      entities, check this box and state type
                                                   ¨    Clearing Bank                                                 Nature of Debts (Check one box)
      of entity below.)                            ¨    Other
                                                                                                þ    Debts are primarily consumer               ¨    Debts are primarily
                                                                 Tax-Exempt Entity                   debts, defined in 11 U.S.C.                     business debts.
                                                           (Check box, if applicable.)               § 101(8) as "incurred by an
                                                                                                     individual primarily for a
                                                        Debtor is a tax-exempt organization          personal, family, or house-
                                                   ¨    under Title 26 of the United States          hold purpose."
                                                        Code (the Internal Revenue Code).

                             Filing Fee (Check one box)                                                                           Chapter 11 Debtors
                                                                                                Check one box:

 þ    Full Filing Fee attached                                                                  ¨    Debtor is a small business debtor as defined by 11 U.S.C. § 101(51D).
                                                                                                ¨    Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                Check if:
 ¨    Filing Fee to be paid in installments (applicable to individuals only). Must attach
      signed application for the court's consideration certifying that the debtor is
      unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.             ¨    Debtor's aggregate noncontigent liquidated debts (excluding debts owed to
                                                                                                     insiders or affiliates) are less than $2 million.
                                                                                                Check all applicable boxes:
      Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
 ¨                                                                                                   A plan is being filed with this petition
      attach signed application for the court's consideration. See Official Form 3B.
                                                                                                ¨
                                                                                                     Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                ¨    of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                  THIS SPACE IS FOR COURT USE ONLY

 þ    Debtor estimates that funds will be available for distribution to unsecured creditors.

 ¨    Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
      there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors
   1-             50-         100-          200-         1,000-      5,001-     10,001-    25,001-         50,001-       OVER
   49             99          199           999           5,000      10,000     25,000     50,000          100,000      100,000
   þ            ¨             ¨             ¨                ¨         ¨            ¨           ¨            ¨             ¨
 Estimated Assets
      $0 to
   ¨  $10,000               þ $10,000
                              $100,000
                                      to
                                                     ¨ $100,000
                                                       $1 million
                                                                  to
                                                                              ¨ $1 million to
                                                                                $100 million        ¨ More than $100 million
 Estimated Debts
      $0 to
   ¨  $50,000               ¨ $50,000
                              $100,000
                                      to
                                                     þ $100,000
                                                       $1 million
                                                                  to
                                                                              ¨ $1 million to
                                                                                $100 million        ¨ More than $100 million
Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas (210) 561-5300, Copyright 1996-2006 (Build 8.0.0.167, ID 1753419878)
              Case 06-14784-dws                       Doc 1        Filed 10/18/06 Entered 10/18/06 16:53:51                                          Desc Main
(Official Form 1) (10/06)
                                                                   Document     Page 2 of 32                                                                       FORM B1, Page 2
 Voluntary Petition                                                                         Name of Debtor(s):    Christopher Rahn
 (This page must be completed and filed in every case)
                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location Where Filed:                                                                      Case Number:                                   Date Filed:
 None
Location Where Filed:                                                                      Case Number:                                   Date Filed:


        Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                     (If more than one, attach additional sheet)
Name of Debtor:                                                                            Case Number:                                   Date Filed:


District:                                                                                  Relationship:                                  Judge:


                                         Exhibit A                                                                                 Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                               (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                  whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)         I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                            informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                            of title 11, United States Code, and have explained the relief available under each
                                                                                            such chapter. I further certify that I delivered to the debtor the notice required by
 ¨      Exhibit A is attached and made a part of this petition.
                                                                                            11 U.S.C. § 342(b).



                                                                                            X     /s/ Michael A. Cataldo, Esquire                                    10/18/2006
                                                                                                 Michael A. Cataldo, Esquire                                            Date
                                                                                     Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

 ¨      Yes, and Exhibit C is attached and made a part of this petition.

 þ      No.

                                                                                     Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
      þ Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
        ¨ Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.
                                                                   Information Regarding the Debtor - Venue
 (Check any applicable box)

 þ      Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
        preceding the date of this petition or for a longer part of such 180 days than in any other District.


 ¨      There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

 ¨      Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
        principal place of business or assets in the United States but is a defendant in an action or proceeding (in a federal or state court) in this District,
        or the interests of the parties will be served in regard to the relief sought in this District.

                                       Statement by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes.)
 ¨      Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                                                                        (Name of landlord that obtained judgment)




                                                                                        (Address of landlord)

 ¨      Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
        monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and


 ¨      Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
        petition.

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            Case 06-14784-dws                         Doc 1         Filed 10/18/06 Entered 10/18/06 16:53:51                                           Desc Main
(Official Form 1) (10/06)
                                                                    Document     Page 3 of 32                                                                         FORM B1, Page 3
 Voluntary Petition                                                                          Name of Debtor(s):     Christopher Rahn
 (This page must be completed and filed in every case)
                                                                                        Signatures
             Signature(s) of Debtor(s) (Individual/Joint)                                                          Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is        I declare under penalty of perjury that the information provided in this petition is true
 true and correct.                                                                           and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under
                                                                                             (Check only one box.)
 each such chapter, and choose to proceed under chapter 7.
 [If no attorney represents me and no bankruptcy petition preparer signs the
 petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                             ¨ ICertified
                                                                                                 request relief in accordance with chapter 15 of title 11, United States Code.
                                                                                                          copies of the documents required by 11 U.S.C. § 1515 are attached.

 I request relief in accordance with the chapter of title 11, United States Code,
 specified in this petition.                                                                 ¨ Pursuant to 11 U.S.C. § 1511, United States Code, I request relief in
                                                                                               accordance with the chapter of title 11 specified in this petition. A certified copy
                                                                                                 of the order granting recognition of the foreign main proceeding is attached.


 X     /s/ Christopher Rahn
      Christopher Rahn
                                                                                             X
                                                                                                 (Signature of Foreign Representative)
 X
                                                                                                 (Printed Name of Foreign Representative)
     Telephone Number (If not represented by an attorney)
     10/18/2006
     Date                                                                                        (Date)
                              Signature of Attorney                                                    Signature of Non-Attorney Bankruptcy Petition Preparer
                                                                                             I declare under penalty of perjury that: 1) I am a bankruptcy petition preparer as
 X     /s/ Michael A. Cataldo, Esquire                                                       defined in 11 U.S.C. § 110; 2) I prepared this document for compensation and
      Michael A. Cataldo, Esquire                      Bar No.                               have provided the debtor with a copy of this document and the notices and
                                                                                             information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, 3) if rules
                                                                                             or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a
 Cibik and Cataldo, P.C.                                                                     maximum fee for services chargeable by bankruptcy petition preparers, I have
 437 Chestnut Street                                                                         given the debtor notice of the maximum amount before preparing any document
                                                                                             for filing for a debtor or accepting any fee from the debtor, as required in that
 Suite 1000
                                                                                             section. Official Form 19B is attached.
 Philadelphia, PA 19106
 ccpc@ccpclaw.com
           (215) 735-1060
 Phone No.______________________        (215) 735-6769
                                 Fax No.______________________                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     10/18/2006
     Date                                                                                    Social Security number (If the bankruptcy petition preparer is not an individual,
                                                                                             state the Social Security number of the officer, principal, responsible person or
                                                                                             partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)


                Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of
 the debtor.
                                                                                             Address
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.
                                                                                             X
                                                                                                 Date
 X                                                                                           Signature of bankruptcy petiton preparer or officer, principal, responsible person, or
                                                                                             partner whose Social Security number is provided above.

                                                                                             Names and Social Security numbers of all other individuals who prepared or
     Printed Name of Authorized Individual
                                                                                             assisted in preparing this document unless the bankruptcy petition preparer is not
                                                                                             an individual:
     Title of Authorized Individual

                                                                                              If more than one person prepared this document, attach additional sheets
     Date                                                                                     conforming to the appropriate official form for each person.

                                                                                              A bankruptcy petition preparer's failure to comply with the provisions of title 11
                                                                                              and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                              imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
      Case 06-14784-dws               Doc 1      Filed 10/18/06 Entered 10/18/06 16:53:51                         Desc Main
                                                 Document     Page 4 of 32
B201 (04/09/06)                          UNITED STATES BANKRUPTCY COURT
                                         EASTERN DISTRICT OF PENNSYLVANIA
                                               PHILADELPHIA DIVISION
IN RE:   Christopher Rahn




                    NOTICE TO INDIVIDUAL CONSUMER DEBTOR(S) UNDER § 342(b)
                                    OF THE BANKRUPTCY CODE
In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available from credit
counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of bankruptcy proceedings you may
commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General may examine all information
you supply in connection with a bankruptcy case. You are cautioned that bankruptcy law is complicated and not easily
described. Thus, you may wish to seek the advice of an attorney to learn of your rights and responsibilities should you decide to
file a petition. Court employees cannot give you legal advice.


1. Services Available from Credit Counseling Agencies
With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy relief on
or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and provides
assistance in performing a budget analysis. The briefing must be given within 180 days BEFORE the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator.
The clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies.

In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

Chapter 7:     Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)
1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted
to proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in
some cases, creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It
is up to the court to decide whether the case should be dismissed.

2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.

3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it
does, the purpose for which you filed the bankruptcy petition will be defeated.

4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not
properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or
aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty,
or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income
($235 filing fee, $39 administrative fee: Total fee $274)
1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over
a period of time. You are eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.

2. Under Chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
      Case 06-14784-dws               Doc 1      Filed 10/18/06 Entered 10/18/06 16:53:51                          Desc Main
                                                 Document     Page 5 of 32
B201 (04/09/06)                          UNITED STATES BANKRUPTCY COURT                                                               Page 2
                                         EASTERN DISTRICT OF PENNSYLVANIA
                                               PHILADELPHIA DIVISION
IN RE:   Christopher Rahn




3. After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in
your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

Chapter 12: Family Farmer or Fisherman                ($200 filing fee, $39 administrative fee: Total fee $239)
Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily
from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the
United States Trustee, the Office of the United States Attorney, and other components and employees of the Department of
Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local
rules of the court.

                          Certificate of Compliance with § 342(b) of the Bankruptcy Code
I,          Michael A. Cataldo, Esquire               , counsel for Debtor(s), hereby certify that I delivered to the Debtor(s) the Notice
required by § 342(b) of the Bankruptcy Code.

/s/ Michael A. Cataldo, Esquire
Michael A. Cataldo, Esquire, Attorney for Debtor(s)
Bar No.:
Cibik and Cataldo, P.C.
437 Chestnut Street
Suite 1000
Philadelphia, PA 19106
ccpc@ccpclaw.com
Phone: (215) 735-1060
Fax: (215) 735-6769
E-Mail: mcataldo@ccpclaw.com


                                                     Certificate of the Debtor
I (We), the debtor(s), affirm that I (we) have received and read this notice.

Christopher Rahn                                                       X /s/ Christopher Rahn                           10/18/2006
                                                                        Signature of Debtor                             Date
Printed Name(s) of Debtor(s)
                                                                       X
Case No. (if known)                                                        Signature of Joint Debtor (if any)           Date
            Case 06-14784-dws                    Doc 1        Filed 10/18/06 Entered 10/18/06 16:53:51                                     Desc Main
                                                              Document     Page 6 of 32
Official Form 7                                    UNITED STATES BANKRUPTCY COURT
(10/05)                                             EASTERN DISTRICT OF PENNSYLVANIA
                                                          PHILADELPHIA DIVISION
   In re:    Christopher Rahn                                                                               Case No.
                                                                                                                                      (if known)



                                                     STATEMENT OF FINANCIAL AFFAIRS
This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information
      1. spouses
for both Incomeisfrom       employment
                       combined.     If the caseor isoperation
                                                      filed underof   business
                                                                    chapter   12 or chapter 13, a married debtor must furnish information for both
 None
spouses   whether   or not  a joint petitionthe
                                              is debtor
                                                 filed, unless   the spouses     are separated
      State the gross   amount  of income                 has received  from employment,       trade,and  a joint petition
                                                                                                      or profession,       is operation
                                                                                                                     or from  not filed. ofAntheindividual  debtor
                                                                                                                                                  debtor's business,
 ¨ including
engaged   in business    as a  sole proprietor,    partner,   family farmer,   or self-employed       professional,   should   provide    the  information
                part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
requested
      case on
            wasthis statementState
                 commenced.      concerning
                                        also theall  such
                                                 gross     activities
                                                         amounts      as well
                                                                   received     as the
                                                                             during  theindividual's    personal affairs.
                                                                                          two years immediately     precedingDothis
                                                                                                                                 notcalendar
                                                                                                                                      includeyear.
                                                                                                                                                 the name    or that
                                                                                                                                                      (A debtor
address  of a minor
      maintains,      child
                  or has    in this statement.
                          maintained,               Indicate
                                        financial records   on payments,
                                                               the basis of transfers   andthan
                                                                            a fiscal rather    the like  to minor
                                                                                                   a calendar      children
                                                                                                                year         by stating
                                                                                                                     may report            "a minor
                                                                                                                                  fiscal year  income.child."  See
                                                                                                                                                         Identify the11
U.S.C.beginning  and R.
        § 112; Fed.   ending  dates
                          Bankr.  P. of  the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                      1007(m).
       under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)
         AMOUNT                        SOURCE
for the answer
        $0.00 to any question, use
                               2006and attach a separate sheet properly identified with the case name, case number (if known), and
the number of the question.
        $11,712.00             2005

       2. Income other than from employment or operation of business
None
       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business during the
isþ"in business"   for the purpose
        two years immediately        of this
                               preceding   theform  if the debtorofisthis
                                                commencement          or has
                                                                           case.been,
                                                                                  Give within six years
                                                                                       particulars.       immediately
                                                                                                    If a joint petition is preceding     the filing
                                                                                                                           filed, state income    forof thisspouse
                                                                                                                                                     each
bankruptcy    case,  any  of the following:   an  officer, director,  managing      executive,  or owner    of 5 percent     or more   of  the
        separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition    voting   or equity
                                                                                                                                                            is filed,
securities  of the
        unless a corporation;
                   spouses are aseparated
                                  partner, and
                                            other   thanpetition
                                                 a joint  a limited  partner,
                                                                 is not  filed.) of a partnership; a sole proprietor or self-employed full-time or part-
time. An individual debtor also may be "in business" for the purpose of this form if the debtor engages in a trade, business, or other
activity, other than as an employee, to supplement income from the debtor's primary employment.
       3. Payments to creditors
       Complete a. or b., as appropriate, and c.
corporations
 None         of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of
      a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
the voting or equity   securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any
 þ debts to any creditor     made within 90 days immediately preceding the commencement of this case if the aggregate value of all property that
managing   agent  of  the  debtor. 11 U.S.C. § 101.
      constitutes or is affected by such transfer is not less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on
       account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and
       credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not
       a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
 þ     preceding the commencement of the case if the aggregate value of all property that constitutes or is affected by such transfer is not less than
       $5,000. (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



None
       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
 þ     who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       4. Suits and administrative proceedings, executions, garnishments and attachments
None
       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
 ¨     bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
         CAPTION OF SUIT AND                                                                    COURT OR AGENCY                    STATUS OR
         CASE NUMBER                                        NATURE OF PROCEEDING                AND LOCATION                       DISPOSITION
         DEUTSCHE BANK                                      FORECLOSURE                         PHILADELPHIA                       SOLD AT SHERIFF SALE
         060401726

None
       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
 þ     the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
            Case 06-14784-dws                Doc 1       Filed 10/18/06 Entered 10/18/06 16:53:51                               Desc Main
                                                         Document     Page 7 of 32
Official Form 7 - Cont.                        UNITED STATES BANKRUPTCY COURT
(10/05)                                         EASTERN DISTRICT OF PENNSYLVANIA
                                                      PHILADELPHIA DIVISION
   In re:   Christopher Rahn                                                                       Case No.
                                                                                                                           (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                   Continuation Sheet No. 1



       5. Repossessions, foreclosures and returns
None
       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned
 ¨     to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)

                                                                        DATE OF REPOSSESSION,
                                                                        FORECLOSURE SALE,                 DESCRIPTION AND VALUE
        NAME AND ADDRESS OF CREDITOR OR SELLER                          TRANSFER OR RETURN                OF PROPERTY
        DEUTSCHE BANK                                                   10/06                             SHERIFF SALE 10/06
        505 CITY PARKWAY WEST
        SUITE 100
        ORANGE CA 92868

       6. Assignments and receiverships
None
       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
 þ     (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is
       filed, unless the spouses are separated and a joint petition is not filed.)

None
       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
 þ     commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       7. Gifts
None
       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
 þ     gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
       per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       8. Losses
None
       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
 þ     commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
       a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       9. Payments related to debt counseling or bankruptcy
None
       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
 ¨     consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
       of this case.

                                                                      DATE OF PAYMENT,
                                                                      NAME OF PAYER IF                 AMOUNT OF MONEY OR DESCRIPTION
        NAME AND ADDRESS OF PAYEE                                     OTHER THAN DEBTOR                AND VALUE OF PROPERTY
        CIBIK AND CATALDO, PC                                         9/15/06                          2,000

       10. Other transfers
None
       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
 þ     either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12
       or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)
            Case 06-14784-dws                Doc 1       Filed 10/18/06 Entered 10/18/06 16:53:51                               Desc Main
                                                         Document     Page 8 of 32
Official Form 7 - Cont.                        UNITED STATES BANKRUPTCY COURT
(10/05)                                         EASTERN DISTRICT OF PENNSYLVANIA
                                                      PHILADELPHIA DIVISION
   In re:   Christopher Rahn                                                                       Case No.
                                                                                                                           (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                   Continuation Sheet No. 2



       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or
None
       similar device of which the debtor is a beneficiary.
 þ
       11. Closed financial accounts
None
       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
 þ     transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
       brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       12. Safe deposit boxes
None
       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
 ¨     preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                     NAMES AND ADDRESSES OF
        NAME AND ADDRESS OF BANK                     THOSE WITH ACCESS TO                         DESCRIPTION OF             DATE OF TRANSFER OR
        OR OTHER DEPOSITORY                          BOX OR DEPOSITORY                            CONTENTS                   SURRENDER, IF ANY
        MADISON BANK SAFE DEPOSIT                    DEBTOR ONLY                                  $7,500
        BANK
        8000 VEREE RD
        PHILA,PA

       13. Setoffs
None
       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
 þ     case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)



       14. Property held for another person
None
       List all property owned by another person that the debtor holds or controls.
 þ
       15. Prior address of debtor
None
       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied
 ¨     during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either
       spouse.

        ADDRESS                                                       NAME USED                                         DATES OF OCCUPANCY
        101 CANTERBURY LANE                                                                                             1999 THRU
        BLUE BELL, PA 19422                                                                                             2001

        1010 SOUTH 7TH STREET                                                                                           2001 THRU 1/02
        PHILA,PA 19147

        3616 NANTON TERRACE                                                                                             2002-2004
        PHILA,PA 19154

        101 THUNDER CIRCLE                                                                                              2004/2005
        BENSALEM , PA 19020
            Case 06-14784-dws                Doc 1       Filed 10/18/06 Entered 10/18/06 16:53:51                               Desc Main
                                                         Document     Page 9 of 32
Official Form 7 - Cont.                         UNITED STATES BANKRUPTCY COURT
(10/05)                                          EASTERN DISTRICT OF PENNSYLVANIA
                                                       PHILADELPHIA DIVISION
   In re:   Christopher Rahn                                                                        Case No.
                                                                                                                           (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 3



       16. Spouses and Former Spouses
None
       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
 þ     Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
       identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.


       17. Environmental Information
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic
       substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or
       regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated
       by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or
       contaminant or similar term under an Environmental Law.



None a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
 þ     potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
       Environmental Law:



None b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material.
 þ     Indicate the governmental unit to which the notice was sent and the date of the notice.



None c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor is
 þ     or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.


       18. Nature, location and name of business
None
       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending
 ¨     dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership,
       sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
       commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years
       immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years
       immediately preceding the commencement of this case.

        NAME, ADDRESS, AND LAST FOUR DIGITS OF
        SOC. SEC. NO. / COMPLETE EIN OR OTHER                                                                      BEGINNING AND ENDING
        TAXPAYER I.D. NO.                                            NATURE OF BUSINESS                            DATES

        CHRIS RAHN CONTRUCTION, INC                                  CONSTRUCTION                                  JAN 2005 THRU
        3616 NANTON TERRACE                                                                                        APPROX MARCH 2006
        PHILA, PA 19154
        XX-XXXXXXX
            Case 06-14784-dws                 Doc 1       Filed 10/18/06 Entered 10/18/06 16:53:51                                  Desc Main
                                                         Document      Page 10 of 32
Official Form 7 - Cont.                         UNITED STATES BANKRUPTCY COURT
(10/05)                                          EASTERN DISTRICT OF PENNSYLVANIA
                                                       PHILADELPHIA DIVISION
   In re:   Christopher Rahn                                                                          Case No.
                                                                                                                               (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                     Continuation Sheet No. 4


None
       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
 þ

       The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been,
       within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner of
       more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor, or
       self-employed in a trade, profession, or other activity, either full- or part-time.

       (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above, within
       six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
       directly to the signature page.)


       19. Books, records and financial statements
None
       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or supervised the
 þ     keeping of books of account and records of the debtor.


None
       b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case have audited the books of account
 þ     and records, or prepared a financial statement of the debtor.


None
       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
 þ     debtor. If any of the books of account and records are not available, explain.


None
       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by
 þ     the debtor within two years immediately preceding the commencement of this case.



       20. Inventories
None
       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
 þ     dollar amount and basis of each inventory.


None
       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.
 þ

       21. Current Partners, Officers, Directors and Shareholders
None
       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
 þ

None
       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or
 þ     holds 5 percent or more of the voting or equity securities of the corporation.


       22. Former partners, officers, directors and shareholders
None
       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement
 þ     of this case.
            Case 06-14784-dws                 Doc 1       Filed 10/18/06 Entered 10/18/06 16:53:51                                 Desc Main
                                                         Document      Page 11 of 32
Official Form 7 - Cont.                         UNITED STATES BANKRUPTCY COURT
(10/05)                                          EASTERN DISTRICT OF PENNSYLVANIA
                                                       PHILADELPHIA DIVISION
   In re:   Christopher Rahn                                                                          Case No.
                                                                                                                              (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 5


None
       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately
 þ     preceding the commencement of this case.



       23. Withdrawals from a partnership or distributions by a corporation
None
       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
 þ     bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this
       case.


       24. Tax Consolidation Group
None
       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated group for tax
 þ     purposes of which the debtor has been a member at any time within six years immediately preceding the commencement of the case.




       25. Pension Funds
None
       If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an employer,
 þ     has been responsible for contributing at any time within six years immediately preceding the commencement of the case.
            Case 06-14784-dws           Doc 1      Filed 10/18/06 Entered 10/18/06 16:53:51                       Desc Main
                                                  Document      Page 12 of 32
Official Form 7 - Cont.                   UNITED STATES BANKRUPTCY COURT
(10/05)                                    EASTERN DISTRICT OF PENNSYLVANIA
                                                 PHILADELPHIA DIVISION
   In re:   Christopher Rahn                                                              Case No.
                                                                                                              (if known)



                                           STATEMENT OF FINANCIAL AFFAIRS
                                                            Continuation Sheet No. 6




I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct.


Date 10/18/2006                                                Signature         /s/ Christopher Rahn
                                                               of Debtor         Christopher Rahn


Date                                                           Signature
                                                               of Joint Debtor
                                                               (if any)

 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C.
 Sections 152 and 3571
       Case 06-14784-dws          Doc 1    Filed 10/18/06 Entered 10/18/06 16:53:51                                 Desc Main
                                          Document      Page 13 of 32
Form B6A
(10/05)


  In re Christopher Rahn                                                  Case No.
                                                                                                              (if known)



                                    SCHEDULE A - REAL PROPERTY


                                                                                                           Current Value




                                                                                  Husband, Wife, Joint
                                                                                                            of Debtor's
                Description and                          Nature of Debtor's




                                                                                    Or Community
                                                                                                             Interest in
                  Location of                           Interest in Property
                                                                                                         Property, Without    Amount Of
                   Property                                                                                                  Secured Claim
                                                                                                          Deducting Any
                                                                                                          Secured Claim
                                                                                                           or Exemption




                                                                               Total:                                $0.00
                                                                               (Report also on Summary of Schedules)
           Case 06-14784-dws              Doc 1      Filed 10/18/06 Entered 10/18/06 16:53:51           Desc Main
                                                    Document      Page 14 of 32
Form B6B
(10/05)



  In re Christopher Rahn                                                               Case No.
                                                                                                    (if known)



                                          SCHEDULE B - PERSONAL PROPERTY




                                                                                                         Husband, Wife, Joint
                                                                                                                                Current Value of
                                                                                                                                Debtor's Interest




                                                                                                           or Community
                                                                                                                                   in Property,

                                           None
                                                                                                                                Without Deducting
            Type of Property                                 Description and Location of Property                                 any Secured
                                                                                                                                     Claim or
                                                                                                                                    Exemption

1. Cash on hand.                            X

2. Checking, savings or other finan-              MADISON BANK-CHECKING ACCT                                   -                        $600.00
cial accounts, certificates of deposit,
or shares in banks, savings and loan,             MADISON BANK SAVINGS ACCT                                    -                          $0.00
thrift, building and loan, and home-
stead associations, or credit unions,             SAFE DEPOSIT BOX                                             -                      $1,500.00
brokerage houses, or cooperatives.

3. Security deposits with public util-      X
ities, telephone companies, land-
lords, and others.

4. Household goods and furnishings,               HOUSEHOLD GOODS                                              -                          $0.00
including audio, video and computer               LIVES WITH GIRLFRIEND-ALL HOUSEHOLD ITEMS
equipment.                                        BELONG TO HIS GIRLFRIEND



5. Books; pictures and other art            X
objects; antiques; stamp, coin,
record, tape, compact disc, and other
collections or collectibles.

6. Wearing apparel.                               WEARING APPAREL                                              -                        $250.00



7. Furs and jewelry.                        X

8. Firearms and sports, photo-              X
graphic, and other hobby equipment.

9. Interests in insurance policies.         X
Name insurance company of each
policy and itemize surrender or
refund value of each.

10. Annuities. Itemize and name             X
each issuer.
         Case 06-14784-dws               Doc 1      Filed 10/18/06 Entered 10/18/06 16:53:51           Desc Main
                                                   Document      Page 15 of 32
Form B6B-Cont.
(10/05)



  In re Christopher Rahn                                                              Case No.
                                                                                                   (if known)



                                         SCHEDULE B - PERSONAL PROPERTY
                                                        Continuation Sheet No. 1




                                                                                                        Husband, Wife, Joint
                                                                                                                               Current Value of
                                                                                                                               Debtor's Interest




                                                                                                          or Community
                                                                                                                                  in Property,

                                          None
                                                                                                                               Without Deducting
            Type of Property                                Description and Location of Property                                 any Secured
                                                                                                                                    Claim or
                                                                                                                                   Exemption


11. Interests in an education IRA as       X
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately
the record(s) of any such interest(s).
11 U.S.C. § 521(c); Rule 1007(b)).

12. Interests in IRA, ERISA, Keogh,              DREYFUS/PENSION(PHILA CARPENTER'S UNION)                     -                     $32,000.00
or other pension or profit sharing
plans. Give particulars.

13. Stock and interests in incorpo-              CHRIS RAHN CONSTRUCTION, INC                                 -                          $0.00
rated and unincorporated businesses.             CLOSED APPROX 6 MONTHS AGO
Itemize.                                         FEW SAWS- MOST TOOLS ,IF ANY. WERE LEFT
                                                 BEHIND AT LAST JOB
                                                 CORPORATION IS CLOSED AND HAD 2
                                                 UNCOLLECTABLE RECEIVABLES APPROX $17,000
                                                 AND $26,000
                                                 CORPORATION OWES THE PHILA CARPENTER'S
                                                 UNION APPROX $30,000



14. Interests in partnerships or joint     X
ventures. Itemize.

15. Government and corporate bonds         X
and other negotiable and non-
negotiable instruments.

16. Accounts receivable.                   X

17. Alimony, maintenance, support,         X
and property settlements to which the
debtor is or may be entitled. Give
particulars.
         Case 06-14784-dws                 Doc 1    Filed 10/18/06 Entered 10/18/06 16:53:51           Desc Main
                                                   Document      Page 16 of 32
Form B6B-Cont.
(10/05)



  In re Christopher Rahn                                                              Case No.
                                                                                                   (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                        Continuation Sheet No. 2




                                                                                                        Husband, Wife, Joint
                                                                                                                               Current Value of
                                                                                                                               Debtor's Interest




                                                                                                          or Community
                                                                                                                                  in Property,

                                            None
                                                                                                                               Without Deducting
            Type of Property                                Description and Location of Property                                 any Secured
                                                                                                                                    Claim or
                                                                                                                                   Exemption


18. Other liquidated debts owed to           X
debtor including tax refunds. Give
particulars.

19. Equitable or future interests, life      X
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule A - Real
Property.

20. Contingent and noncontingent             X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

21. Other contingent and unliqui-            X
dated claims of every nature,
including tax refunds, counterclaims
of the debtor, and rights to setoff
claims. Give estimated value of each.

22. Patents, copyrights, and other           X
intellectual property. Give
particulars.

23. Licenses, franchises, and other          X
general intangibles. Give particulars.

24. Customer lists or other compilations     X
containing personally identifiable
information (as defined in 11 U.S.C.
101(41A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
primarily for personal, family, or
household purposes.
        Case 06-14784-dws               Doc 1        Filed 10/18/06 Entered 10/18/06 16:53:51                         Desc Main
                                                    Document      Page 17 of 32
Form B6B-Cont.
(10/05)



  In re Christopher Rahn                                                                   Case No.
                                                                                                                  (if known)



                                        SCHEDULE B - PERSONAL PROPERTY
                                                          Continuation Sheet No. 3




                                                                                                                       Husband, Wife, Joint
                                                                                                                                              Current Value of
                                                                                                                                              Debtor's Interest




                                                                                                                         or Community
                                                                                                                                                 in Property,

                                           None
                                                                                                                                              Without Deducting
           Type of Property                                    Description and Location of Property                                             any Secured
                                                                                                                                                   Claim or
                                                                                                                                                  Exemption


25. Automobiles, trucks, trailers,                2004 JEEP CHEROKEE                                                         -                     $14,000.00
and other vehicles and accessories.               APPROX $54,000 MILES

                                                  2004 FORD F 250                                                            -                     $15,500.00



26. Boats, motors, and accessories.        X

27. Aircraft and accessories.              X

28. Office equipment, furnishings,         X
and supplies.

29. Machinery, fixtures, equipment,        X
and supplies used in business.

30. Inventory.                             X

31. Animals.                               X

32. Crops - growing or harvested.          X
Give particulars.

33. Farming equipment and                  X
implements.

34. Farm supplies, chemicals, and          X
feed.

35. Other personal property of any         X
kind not already listed. Itemize.




            (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules.)   Total >                          $63,850.00
           Case 06-14784-dws               Doc 1      Filed 10/18/06 Entered 10/18/06 16:53:51                       Desc Main
                                                     Document      Page 18 of 32
Form B6C
(10/05)



In re Christopher Rahn                                                                      Case No.
                                                                                                                 (If known)



                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

 Debtor claims the exemptions to which debtor is entitled under:           ¨     Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                 $125,000.

 þ    11 U.S.C. § 522(b)(2)
 ¨    11 U.S.C. § 522(b)(3)




                                                                                                                                   Current
                                                                                                                              Value of Property
                                                               Specify Law Providing Each            Value of Claimed
              Description of Property                                                                                         Without Deducting
                                                                       Exemption                        Exemption
                                                                                                                                  Exemption



MADISON BANK-CHECKING ACCT                               11 U.S.C. § 522(d)(5)                                  $600.00                 $600.00

MADISON BANK SAVINGS ACCT                                11 U.S.C. § 522(d)(5)                                     $0.00                     $0.00

SAFE DEPOSIT BOX                                         11 U.S.C. § 522(d)(5)                                $1,500.00               $1,500.00

HOUSEHOLD GOODS                                          11 U.S.C. § 522(d)(3)                                     $0.00                     $0.00
LIVES WITH GIRLFRIEND-ALL HOUSEHOLD
ITEMS BELONG TO HIS GIRLFRIEND

WEARING APPAREL                                          11 U.S.C. § 522(d)(3)                                  $250.00                 $250.00

DREYFUS/PENSION(PHILA CARPENTER'S                        11 U.S.C. § 522(d)(10)(E)                           $32,000.00              $32,000.00
UNION)                                                   11 U.S.C. § 522(d)(12)                                   $0.00

2004 FORD F 250                                          11 U.S.C. § 522(d)(2)                                  $920.00              $15,500.00




                                                                                                             $35,270.00              $49,850.00
         Case 06-14784-dws             Doc 1                   Filed 10/18/06 Entered 10/18/06 16:53:51                                           Desc Main
                                                              Document      Page 19 of 32
Official Form 6D (10/06)
            In re Christopher Rahn                                                                                   Case No.
                                                                                                                                                 (if known)



                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                         ¨    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                          HUSBAND, WIFE, JOINT,
        CREDITOR'S NAME AND                                                                    DATE CLAIM WAS                               AMOUNT OF         UNSECURED




                                                                                                                             UNLIQUIDATED
           MAILING ADDRESS                                                                   INCURRED, NATURE                                 CLAIM           PORTION, IF




                                                                                                                              CONTINGENT
                                                            OR COMMUNITY
                                               CODEBTOR




                                                                                                                               DISPUTED
       INCLUDING ZIP CODE AND                                                                   OF LIEN, AND                                 WITHOUT             ANY
         AN ACCOUNT NUMBER                                                                    DESCRIPTION AND                               DEDUCTING
         (See Instructions Above.)                                                                VALUE OF                                   VALUE OF
                                                                                             PROPERTY SUBJECT                               COLLATERAL
                                                                                                   TO LIEN
                                                                                  DATE INCURRED:
ACCT #: xxxxxx0624                                                                NATURE OF LIEN:
                                                                                  Vehicle Loan
DaimlerChrysler Services                                                          COLLATERAL:
                                                                                  2005 JEEP CHEROKEE                                           $18,000.00           $4,000.00
Trustee Payment Dept. No.100301                                 -                 REMARKS:
P.O. Box 55000
Detroit, MI 48255


                                                                                  VALUE:                        $14,000.00
                                                                                  DATE INCURRED:
ACCT #: xxxxxx3259                                                                NATURE OF LIEN:
                                                                                  Vehicle Loan
Soverign Bank                                                                     COLLATERAL:
                                                                                  FORD F 250                                                   $14,580.00
601 Penn Street                                                 -                 REMARKS:
Reading, PA 19601



                                                                                  VALUE:                        $15,500.00




                                                                                                     Subtotal (Total of this Page) >             $32,580.00          $4,000.00
                                                                                                    Total (Use only on last page) >              $32,580.00           $4,000.00
________________continuation
       No                    sheets attached                                                                                                (Report also on   (If applicable,
                                                                                                                                            Summary of        report also on
                                                                                                                                            Schedules)        Statistical
                                                                                                                                                              Summary of
                                                                                                                                                              Certain Liabilities
                                                                                                                                                              and Related
                                                                                                                                                              Data)
          Case 06-14784-dws                 Doc 1      Filed 10/18/06 Entered 10/18/06 16:53:51                                Desc Main
                                                      Document      Page 20 of 32
Official Form 6E (10/06)

In re Christopher Rahn                                                                            Case No.
                                                                                                                            (If Known)



                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

þ Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

¨   Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
    provided in 11 U.S.C. § 507(a)(1).


¨   Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

¨   Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
    qualifying independent sales representatives up to $10,000* per person earned within 180 days immediately preceding the filing of the original
    petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).


¨   Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


¨   Certain farmers and fishermen
    Claims of certain farmers and fishermen, up to $4,925* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


¨   Deposits by individuals
    Claims of individuals up to $2,225* for deposits for the purchase, lease or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(7).


¨   Taxes and Certain Other Debts Owed to Governmental Units
    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


¨   Commitments to Maintain the Capital of an Insured Depository Institution
    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. §
    507(a)(9).


¨   Claims for Death or Personal Injury While Debtor Was Intoxicated
    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).

¨   Administrative allowances under 11 U.S.C. Sec. 330
    Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional person employed
    by such person as approved by the court and/or in accordance with 11 U.S.C. Secs. 326, 328, 329 and 330.


* Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

________________continuation
       No                    sheets attached
         Case 06-14784-dws               Doc 1    Filed 10/18/06 Entered 10/18/06 16:53:51                                              Desc Main
                                                 Document      Page 21 of 32
Official Form 6F (10/06)
   In re Christopher Rahn                                                                                       Case No.
                                                                                                                           (if known)



                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
¨   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                               HUSBAND, WIFE, JOINT,
               CREDITOR'S NAME,                                                                       DATE CLAIM WAS                            AMOUNT OF




                                                                                                                                 UNLIQUIDATED
                                                                                                                                  CONTINGENT
                MAILING ADDRESS                                                                        INCURRED AND                               CLAIM




                                                                 OR COMMUNITY
                                                    CODEBTOR




                                                                                                                                   DISPUTED
              INCLUDING ZIP CODE,                                                                  CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                             CLAIM.
             (See instructions above.)                                                            IF CLAIM IS SUBJECT TO
                                                                                                     SETOFF, SO STATE.


ACCT #: xxxxx1726                                                                      DATE INCURRED:
                                                                                       CONSIDERATION:
DEUTSCHE BANK                                                                          DeficIENCY                                                 $117,000.00
505 CITY PARKWAY WEST                                                                  REMARKS:
                                                                   -
SUITE 100
ORANGE, CA 92868

ACCT #:                                                                                DATE INCURRED:
                                                                                       CONSIDERATION:
Goldbeck, McCafferty and McKeever                                                      Notice Only                                                Notice Only
Mellon Center-Suite 5000                                                               REMARKS:
                                                                   -
701 Market Street
Philadelphia, PA 19106

ACCT #: xxxxx2131                                                                      DATE INCURRED:
                                                                                       CONSIDERATION:
NEXTEL                                                                                 Phone                                                          $700.00
                                                                                       REMARKS:
                                                                   -




ACCT #:                                                                                DATE INCURRED:
                                                                                       CONSIDERATION:
PNC BANK NAT'L ASSOCIATION                                                             BUS LOAN                                                   $297,000.00
BUSINESS BANKING                                                                       REMARKS:
                                                                   -
1600 MARKET STREET                                                                     NOTE:DEBTOR'S PARENTS PLEDGED THEIR
PHILADELPHIA, PA 19103                                                                 HOME .THEREFORE IT IS A SECURED DEBT AS
                                                                                       TO NON ESTATE PROPERTY.HOME IS WORTH

                                                                                       APPROX $150,000




                                                                                                                              Subtotal >            $414,700.00

                                                                                                                         Total >                    $414,700.00
                                                                           (Use only on last page of the completed Schedule F.)
________________continuation
       No                    sheets attached                   (Report also on Summary of Schedules and, if applicable, on the
                                                                   Statistical Summary of Certain Liabilities and Related Data.)
         Case 06-14784-dws              Doc 1     Filed 10/18/06 Entered 10/18/06 16:53:51                        Desc Main
                                                 Document      Page 22 of 32
Form B6G
(10/05)
   In re Christopher Rahn                                                               Case No.




                    SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to
one of the leases or contracts, indicate that by stating "a minor child" and do not disclose the child's name. See 11 U.S.C. § 112; Fed.
R. Bankr. P. 1007(m).

þ Check this box if debtor has no executory contracts or unexpired leases.
                                                                         DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                                         INTEREST. STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL
           NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                 PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
             OF OTHER PARTIES TO LEASE OR CONTRACT.                      CONTRACT.
           Case 06-14784-dws                Doc 1       Filed 10/18/06 Entered 10/18/06 16:53:51                             Desc Main
                                                       Document      Page 23 of 32
Form B6H
(10/05)
In re Christopher Rahn                                                                           Case No.
                                                                                                                         (if known)



                                                       SCHEDULE H - CODEBTORS
Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by debtor in
the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight
year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any former spouse who resides or
resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight
years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, indicate that by stating "a minor child" and do not
disclose the child's name. See 11 U.S.C. § 112; Fed. Bankr. P. 1007(m).

þ Check this box if debtor has no codebtors.
                    NAME AND ADDRESS OF CODEBTOR                                                    NAME AND ADDRESS OF CREDITOR
          Case 06-14784-dws                 Doc 1       Filed 10/18/06 Entered 10/18/06 16:53:51                                Desc Main
                                                       Document      Page 24 of 32
Official Form 6I (10/06)

In re Christopher Rahn                                                                             Case No.
                                                                                                                       (if known)



                            SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is filed,
unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child.

 Debtor's Marital Status:                                               Dependents of Debtor and Spouse
           Single             Relationship:                         Age:                Relationship:                                Age:




 Employment                     Debtor                                                        Spouse
 Occupation
 Name of Employer             NOT EMPLOYED
 How Long Employed            FORMED EARLY 2005
 Address of Employer          CHRIS RAHN CONSTRUCTION, INC

                              CLOSED APPROX 6 MTHS AGO
INCOME: (Estimate of average or projected monthly income at time case filed)                                        DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                                         $0.00
2. Estimate monthly overtime                                                                                          $0.00
3. SUBTOTAL                                                                                                             $0.00
4. LESS PAYROLL DEDUCTIONS
   a. Payroll taxes (includes social security tax if b. is zero)                                                        $0.00
   b. Social Security Tax                                                                                               $0.00
   c. Medicare                                                                                                          $0.00
   d. Insurance                                                                                                         $0.00
   e. Union dues                                                                                                        $0.00
   f. Retirement                                                                                                        $0.00
   g. Other (Specify)                                                                                                   $0.00
   h. Other (Specify)                                                                                                   $0.00
   i. Other (Specify)                                                                                                   $0.00
   j. Other (Specify)                                                                                                   $0.00
   k. Other (Specify)                                                                                                   $0.00
5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                       $0.00
6.    TOTAL NET MONTHLY TAKE HOME PAY                                                                                   $0.00
7.  Regular income from operation of business or profession or farm (Attach detailed stmt)                              $0.00
8.  Income from real property                                                                                           $0.00
9.  Interest and dividends                                                                                              $0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or                              $0.00
    that of dependents listed above
11. Social security or government assistance (Specify):
                                                                                                                        $0.00
12. Pension or retirement income                                                                                        $0.00
13. Other monthly income (Specify):
      a. ChRISTINE PACIEKA                                                                                           $685.00
      b. GIRLFRIEND PAYS EXPENSES                                                                                      $0.00
      c.                                                                                                               $0.00
14. SUBTOTAL OF LINES 7 THROUGH 13                                                                                   $685.00
15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                                     $685.00
16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15;                            $685.00
    if there is only one debtor repeat total reported on line 15) (Report also on Summary of Schedules and, if applicable,
                                                                        on Statistical Summary of Certain Liabilities and Related Data)
17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
None.
          Case 06-14784-dws                Doc 1       Filed 10/18/06 Entered 10/18/06 16:53:51                            Desc Main
                                                      Document      Page 25 of 32
Official Form 6J (10/06)

    IN RE:   Christopher Rahn                                                                   CASE NO

                                                                                               CHAPTER         7

                    SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)

Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case filed. Prorate any
payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate.

     Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures
¨
     labeled "Spouse."


 1. Rent or home mortgage payment (include lot rented for mobile home)                                                                              $0.00
     a. Are real estate taxes included?       ¨ Yes       þ No
     b. Is property insurance included?       ¨ Yes       þ No
 2. Utilities: a. Electricity and heating fuel                                                                                                      $0.00
               b. Water and sewer                                                                                                                   $0.00
               c. Telephone                                                                                                                         $0.00
               d. Other: 0
 3. Home maintenance (repairs and upkeep)                                                                                                       $0.00
 4. Food                                                                                                                                        $0.00
 5. Clothing                                                                                                                                   $50.00
 6. Laundry and dry cleaning                                                                                                                   $10.00
 7. Medical and dental expenses                                                                                                                $15.00
 8. Transportation (not including car payments)                                                                                                $80.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                            $0.00
 10. Charitable contributions                                                                                                                   $0.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
           a. Homeowner's or renter's                                                                                                           $0.00
           b. Life                                                                                                                              $0.00
           c. Health                                                                                                                            $0.00
           d. Auto                                                                                                                            $125.00
           e. Other:
 12. Taxes (not deducted from wages or included in home mortgage payments)
 Specify:
 13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
             a. Auto:                                                                                                                         $405.00
             b. Other:
             c. Other:
             d. Other:
 14. Alimony, maintenance, and support paid to others:
 15. Payments for support of add'l dependents not living at your home:
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)
 17.a. Other:
 17.b. Other:
 18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,
                                                                                                                                    $685.00
    if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
 19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this
 document: None.


 20. STATEMENT OF MONTHLY NET INCOME
 a. Average monthly income from Line 15 of Schedule I                                                                                        $685.00
 b. Average monthly expenses from Line 18 above                                                                                              $685.00
 c. Monthly net income (a. minus b.)                                                                                                           $0.00
           Case 06-14784-dws             Doc 1      Filed 10/18/06 Entered 10/18/06 16:53:51                             Desc Main
                                                   Document      Page 26 of 32
    Official Form 8
    (10/05)
                                           UNITED STATES BANKRUPTCY COURT
                                           EASTERN DISTRICT OF PENNSYLVANIA
                                                 PHILADELPHIA DIVISION
    IN RE:    Christopher Rahn                                                            CASE NO

                                                                                          CHAPTER          7

                      CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION


¨    I have filed a schedule of assets and liabilities which includes consumer debts secured by property of the estate.

¨    I have filed a schedule of executory contracts and unexpired leases which includes personal property subject to an unexpired lease.

¨    I intend to do the following with respect to the property of the estate which secures those debts or is subject to a lease:

                                                                                                                 Property will      Debt will be
                                                                                Property       Property         be redeemed          reaffirmed
Description of Secured               Creditor's                                  will be      is claimed         pursuant to        pursuant to
Property                             Name                                     surrendered     as exempt        11 U.S.C. § 722   11 U.S.C. § 524(c)

2005 JEEP CHEROKEE                   DaimlerChrysler Services                     þ               ¨                  ¨                  ¨
                                     Trustee Payment Dept. No.100301         SURRENDERING IN LIEU OF DEBT
                                     P.O. Box 55000
                                     Detroit, MI 48255
                                     xxxxxx0624

FORD F 250                           Soverign Bank                                ¨               ¨                  ¨                  ¨
                                     601 Penn Street                         Debtor will continue making payments to creditor without
                                     Reading, PA 19601                       reaffirming.
                                     xxxxxx3259

                                                                                 Lease will be
Description                                                                    assumed pursuant
of Leased                            Lessor's                                     to 11 U.S.C.
Property                             Name                                        § 362(h)(1)(A)

 None


Date 10/18/2006                                                 Signature    /s/ Christopher Rahn
                                                                            Christopher Rahn




Date                                                            Signature
         Case 06-14784-dws              Doc 1      Filed 10/18/06 Entered 10/18/06 16:53:51                           Desc Main
                                                  Document      Page 27 of 32
Official Form 6 - Declaration (10/06)       UNITED STATES BANKRUPTCY COURT
                                            EASTERN DISTRICT OF PENNSYLVANIA
                                                  PHILADELPHIA DIVISION
IN RE:   Christopher Rahn                                                                CASE NO

                                                                                         CHAPTER          7

                               DECLARATION CONCERNING DEBTOR'S SCHEDULES


                           DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                         15
                                                                                                      (Total shown on summary page as attached plus 2.)
sheets, and that they are true and correct to the best of my knowledge, information, and belief.


Date 10/18/2006                                                Signature    /s/ Christopher Rahn
                                                                           Christopher Rahn

Date                                                           Signature

                                                               [If joint case, both spouses must sign.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.
         Case 06-14784-dws               Doc 1      Filed 10/18/06 Entered 10/18/06 16:53:51                       Desc Main
                                                   Document      Page 28 of 32
                                          UNITED STATES BANKRUPTCY COURT
                                          EASTERN DISTRICT OF PENNSYLVANIA
                                                PHILADELPHIA DIVISION
IN RE:     Christopher Rahn                                                               CASE NO

                                                                                         CHAPTER       7

                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept:                                                    $2,000.00
     Prior to the filing of this statement I have received:                                          $2,000.00
     Balance Due:                                                                                          $0.00

2. The source of the compensation paid to me was:
             þ    Debtor                  ¨    Other (specify)

3. The source of compensation to be paid to me is:
             þ    Debtor                  ¨    Other (specify)

4.   þ   I have not agreed to share the above-disclosed compensation with any other person unless they are members and
         associates of my law firm.

     ¨   I have agreed to share the above-disclosed compensation with another person or persons who are not members or
         associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
         compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
   a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
   bankruptcy;
   b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
   c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
   Continued Meeting of Creditor Hearings, Addition of Creditors after Filing Petition, Motions to Avoid Liens, Motions
   for Relief from the Automatic Stay, Motions to Dismiss Case, Adverserial Proceedings & Discharge Litigation,
   Depositions, Asset Cramdowns, Objection to Proof of Claims, Certification of Stipulation Defaults, Motions for Plan
   Modifications, Motions for Reconsideration, Vacate Wage Orders, Praceipe for Discharge, Bankruptcy Chapter
   Conversions, Redemption of Property, Lexis & Pacer Research, Credit, Property, Judgements, & Liens Reports.
   The above legal services will be billed at a hourly rate of $300/hour per attorney.

                                                             CERTIFICATION
        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
     representation of the debtor(s) in this bankruptcy proceeding.


                      10/18/2006                              /s/ Michael A. Cataldo, Esquire
                         Date                                 Michael A. Cataldo, Esquire                Bar No.
                                                              Cibik and Cataldo, P.C.
                                                              437 Chestnut Street
                                                              Suite 1000
                                                              Philadelphia, PA 19106
                                                              ccpc@ccpclaw.com
                                                              Phone: (215) 735-1060 / Fax: (215) 735-6769



      /s/ Christopher Rahn
     Christopher Rahn
         Case 06-14784-dws              Doc 1       Filed 10/18/06 Entered 10/18/06 16:53:51                      Desc Main
                                                   Document      Page 29 of 32
Official Form 6 - Summary (10/06)           UNITED STATES BANKRUPTCY COURT
                                            EASTERN DISTRICT OF PENNSYLVANIA
                                                  PHILADELPHIA DIVISION
   IN RE:   Christopher Rahn                                                            CASE NO

                                                                                        CHAPTER       7



                                                   SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedules A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the
debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities.
Individual debtors must also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter
7, 11, or 13.


                                         ATTACHED NO. OF
 NAME OF SCHEDULE                                                         ASSETS                  LIABILITIES                  OTHER
                                          (YES/NO) SHEETS

 A - Real Property                           Yes          1                           $0.00


 B - Personal Property                       Yes          4                     $63,850.00


 C - Property Claimed                        Yes          1
     as Exempt
 D - Creditors Holding                       Yes          1                                                $32,580.00
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                         Yes          1                                                     $0.00
     (Total of Claims on Schedule E)
 F - Creditors Holding Unsecured             Yes          1                                               $414,700.00
     Nonpriority Claims
 G - Executory Contracts and                 Yes          1
    Unexpired Leases

 H - Codebtors                               Yes          1


 I - Current Income of                       Yes          1                                                                         $685.00
     Individual Debtor(s)

 J - Current Expenditures of                 Yes          1                                                                         $685.00
    Individual Debtor(s)

                                            TOTAL         13                     $63,850.00               $447,280.00
          Case 06-14784-dws                 Doc 1    Filed 10/18/06 Entered 10/18/06 16:53:51                   Desc Main
                                                    Document      Page 30 of 32
Official Form 6 - Statistical Summary (10/06)   UNITED STATES BANKRUPTCY COURT
                                                EASTERN DISTRICT OF PENNSYLVANIA
                                                      PHILADELPHIA DIVISION
    IN RE:   Christopher Rahn                                                         CASE NO

                                                                                      CHAPTER       7


      STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. §
101(8)), filing a case under chapter 7, 11, or 13, you must report all information requested below.


¨    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
     information here.
This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                                     Amount

 Domestic Support Obligations (from Schedule E)                                     $0.00

 Taxes and Certain Other Debts Owed to Governmental Units                           $0.00
 (from Schedule E) (whether disputed or undisputed)

 Claims for Death or Personal Injury While Debtor Was                               $0.00
 Intoxicated (from Schedule E)

 Student Loan Obligations (from Schedule F)                                         $0.00

 Domestic Support, Separation Agreement, and Divorce Decree
                                                                                    $0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar
                                                                                    $0.00
 Obligations (from Schedule F)

                                                               TOTAL                $0.00

State the following:

 Average Income (from Schedule I, Line 16)                                       $685.00

 Average Expenses (from Schedule J, Line 18)                                     $685.00

 Current Monthly Income (from Form 22A Line 12; OR, Form 22B
 Line 11; OR, Form 22C Line 20)                                                  $685.00

State the following:
 1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
 column                                                                                                 $4,000.00

 2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
 column                                                                             $0.00

 3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY" column                                                                                  $0.00

 4. Total from Schedule F                                                                          $414,700.00

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                      $418,700.00
      Case 06-14784-dws               Doc 1      Filed 10/18/06 Entered 10/18/06 16:53:51                          Desc Main
                                                Document      Page 31 of 32
Official Form 1, Exhibit D (10/06)       UNITED STATES BANKRUPTCY COURT
                                         EASTERN DISTRICT OF PENNSYLVANIA
                                               PHILADELPHIA DIVISION
IN RE:   Christopher Rahn                                                                Case No.
                                                                                                              (if known)

                     Debtor(s)

               EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.


þ   1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services
provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

¨   2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services
provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 15 days after your bankruptcy case is filed.


¨    3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the five days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now.          [Must be accompanied by a motion for determination by the
court.] [Summarize exigent circumstances here.]




If the court is satisfied with the reasons stated in your motion, it will send you an order approving your request. You must
still obtain the credit counseling briefing within the first 30 days after you file your bankruptcy case and promptly file a
certificate from the agency that provided the briefing, together with a copy of any debt management plan developed through
the agency. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. A
motion for extension must be filed within the 30-day period. Failure to fulfill these requirements may result in dismissal of
your case. If the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
counseling briefing, your case may be dismissed.
        Case 06-14784-dws             Doc 1      Filed 10/18/06 Entered 10/18/06 16:53:51                       Desc Main
                                                Document      Page 32 of 32
Official Form 1, Exhibit D (10/06)       UNITED STATES BANKRUPTCY COURT
                                         EASTERN DISTRICT OF PENNSYLVANIA
                                               PHILADELPHIA DIVISION
IN RE:   Christopher Rahn                                                             Case No.
                                                                                                           (if known)

                     Debtor(s)

               EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                CREDIT COUNSELING REQUIREMENT
                                                        Continuation Sheet No. 1



¨   4. I am not required to receive a credit counseling briefing because of:    [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

         ¨    Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
              be incapable of realizing and making rational decisions with respect to financial responsibilites.);


         ¨    Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
              effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);


         ¨    Active military duty in a military combat zone.

¨   5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.


Signature of Debtor:    /s/ Christopher Rahn

Date:       10/18/2006
